
Order denying defendants’ motion to vacate plaintiff’s notice to examine defendants before trial modified, on the law and in the exercise of discretion, to eliminate the items of examination and to provide that the examination proceed with respect to the relevant material allegations of fact put in issue by the pleadings in the action, as provided by rule 121-a of the Rules of Civil Practice, as last amended, with $20 costs and disbursements to plaintiff-respondent. It is not necessary to consider the objections to the items of examination, since in the light of the recent amendment to rule 121-a the examination may proceed thereunder. The defendant, Herman Lerner, will appear for examination at Special Term, Part II, of the Supreme Court, New York County, on May 5, 1958, at 11:00 a.m. Settle order.
Concur — Botein, P. J., Breitel, Rabin, Frank and McNally, JJ.
